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Defendants’ Response to the Monitor’s Fourth Report
Pursuant to Section V.E. of the Lippert Consent Decree

I. Introduction

Defendants continue to work towards compliance with the obligations outlined in the
Lippert consent decree. The Department has experienced major achievements since the
last monitoring report that include the elimination of collegial review, the expansion of
Hepatitis C treatment and a partnership with Southern Illinois University’s School of
Medicine (SIU). The ongoing impact of the COVID-19 pandemic and the Department’s
vaccination efforts took time away from specific Decree requirements, but undoubtedly
will have a profound impact on the medical and dental care provided to individuals in
custody. In addition, the Defendants will continue to work collaboratively with the
Monitor while ensuring the obligations under the consent decree are not unilaterally

expanded beyond the Decree.

Il. Attorney Involvement

Throughout the Monitor’s Fourth Report, he expresses repeated frustration with
IDOC counsel and counsel for the Office of the Attorney General. However, section V.G.
of the Decree provides that both the Department and vendor staff may have attorneys

present during meetings or conversations with the Monitor and/or his consultants.

The parties agreed that the Decree would establish legal limitations. “Accordingly, the
parties stipulate and the Court finds that this Decree complies in all respects with the
Prison Litigation Reform Act (“PLRA”), 18 U.S.C. § 3626(a).” Dkt. 1238, p. 4. The PLRA
limits injunctive relief by requiring that the prospective relief in any civil action extend no
further than necessary to correct the violation of the federal right. Finally, the PLRA
requires that the proposed relief is the least intrusive means necessary to correct the
violation of the federal right. The Monitor spends a great deal of this report indicating
frustration with counsel for the Illinois Department of Corrections (IDOC) and the Office
of the Attorney General. However, counsel for the Defendants are only advocating for

their client and ensuring oversight is limited to matters outlined in the Decree.

A. Meetings

The Monitor’s Report indicates dissatisfaction with counsel for the Department
scheduling meetings with Department staff and vendors. Counsel for the Department has
never refused to schedule a meeting, excluded anyone from participation in a meeting or
limited the Monitor’s conversation with anyone with respect to the Decree. Counsel for
IDOC has limited the Monitor’s discussions with employees that clearly fall outside of the

Decree.

For example, a separate class action in the Central District of Illinois concerns the
mental healthcare provided by the Department to individuals in its custody. See Rasho v.
Walker, et al., No. 07-cv-01298. Rasho is monitored by another court and has its own
court-appointed monitor. Despite this separation, the Monitor has attempted to

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incorporate the Department’s Rasho obligations into the Implementation Plan. Even after
being reminded that IDOC’s mental health obligations are under the jurisdiction of
another court, with its own court-appointed monitor, the Monitor was unwavering in his
request. There is no legitimate argument that can be made to suggest that the
Department's mental health obligations are governed by the Lippert Consent Decree. As
such, counsel did advise that conversations regarding the Department’s Rasho
obligations could not continue. On another occasion, the Monitor insisted on reviewing
the Department’s commissary options. Again, attorneys for the Department and the
Attorney General’s Office reminded him that commissary options have nothing to do with
the medical and dental care provided to individuals in custody and thus are not permitted
for discussion.

B. Implementation Plan

Suggesting that the Implementation Plan is nothing more than a clinical and

operational document oversimplifies its significance. While the document certainly will
guide the clinical operations of the Department’s medical program, the document also
creates legally binding obligations for which Defendants must comply. The Decree
specifically states, “[t]he Implementation Plan, and all amendments or updates thereto,
shall be incorporated into, and become enforceable as part of this Decree.” Dkt 1238, IV.C
at 18. The Monitor is correct, attorneys should not weigh on purely clinical matters, and
they have not. However, when the Monitor’s recommendations create more stringent
legal obligations than the Decree, attorneys are permitted to appropriately advise their
clients.

TH. Staffing Analysis

The Monitor insists that the most recent version of the staffing analysis is

insufficient, but does not suggest that the 286.9 medical staff positions the Department
has committed to adding are insufficient to meet the needs of IDOC’s significantly
reduced population. Instead, the Monitor critiques the rationale behind the numbers
without evaluating the proposed additional staff in conjunction to the thirty percent
decrease in the Department’s incarcerated population over the last eighteen months. The
Monitor urges the Court to reject Department’s immediate efforts to hire staff in order to
perform ancther long-term analysis.

The Monitor claims “IDOC said in a February 2021 call that they did not have the

ability to complete a workload analysis. Through five Staffing Analyses and over 18
months, the IDOC did not attempt a workload analysis or attempt to find someone who
could do this for them.” Report at 24. The Department’s efforts clearly indicate a workload
analysis was conducted. Instead, the Department reported an inability to conduct the
specific analysis the Monitor requested. Further, Defendants attempted to consult an
outside entity to assist in their efforts to finalize the staffing analysis. That partnership
was unsuccessful because the Department does not track the data necessary to examine
certain factors outlined in the Monitor’s proposed workload analysis. This information
was shared with Monitor in February. In February 2021, the Monitor was fully supportive

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of the Department immediately finalizing the staffing analysis in order to begin to hire
the new medical staff.

The Department did in fact engage in a workload analysis and that analysis
considered specific requirements outlined in the Decree. A review of the Monitor's first
report confirms a workload analysis was done. The Monitor's First semi-annual Report,
reported that from April 2019 on, the IDOC Office of Health Services had been engaged
in preparing “a system-wide analysis of the IDOC health care staffing” with “ongoing
input from the Monitor.” Dkt. 1276 at 5.

As early as the second draft of the staffing analysis, tendered to the Monitor in late
2019, and in every draft thereafter, the Department has dedicated an entire section to
explaining the methodology behind the staffing numbers. Starting on page 2 of the
staffing analysis, the Department outlines its efforts to conduct a workload analysis “The
initial portion of the staffing analysis consisted of two surveys administered to each
facility Health Care Unit Administrator (HCUA). The first survey sought comparative
information regarding 11 specific nursing tasks. A sample showing data collected from
Dixon Correctional Facility in June 2019 is provided below.”

Facility Name:

Dixon
Correctional

Center

Date 6/3 | 6/4 | GS | G6 | G7 | 6B | 6 | GEO | G/T | 12 | 6/13 | 6/14 | 6S | 6/16 | Total Average
# of patients on : ,
medical pass 979 | 988 | 981 | 981 | 983) 99F | 994 | 1007 | 986 | 982 | 983 | 976 | 994 | 998 | 13823 987

line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# of Acute
infirmary 2 4 2 2 2 5 4 5 3 3 9 6 7 12 66 5
patients
Foftotalpatial | obo ti taf 2 fa tad a da fa | a be | a | a doe 5
care patients
# af patients
seen on 30 46 5] 65 42 18 31 36 50 45 50 52 38 3 577 4}
provider lines
# of new miakes
from county 0 0 G 0 Oo 0 0 0 0 0 i) 0 0 0 0 0
jails :
*otkabsdraen Fog fo | o fo | i fo fof oe Fa fe | ct dls to do 7
by nursing staff
#ofnurse sick | 34 1 14 | 34 | 38 | 27 | to | 23 | 32 | 27 | 36 | 31 | 46 | 16 | a9 | 387 28
calls seen daily
#otNurse | 60 | 63 | 63 | 62 | 6s | 12 | 10 | 80 | 47 | 10 | 7 | 73 | 66 | 184] 865 | 62
contacts in Seo
# of Discharges 2 1 1 5 4 I 1 1 2 2 2 ] | ] 25 2
# of emergency
unscheduled I 1 0 0 I 0 0 1 0 0 1 1 3 0 9 I
furloughs
# of paents
treated at
satellite facility 0 83 0 49 | 35 33 30 37 4] 38 52 6 $i 35 490 35
(RN/Provider
lines: Bldg 1133

 
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The second survey consisted of an assessment of the current staffing levels,
requests for additional positions and the justification for those positions.

The results of this preliminary analysis were submitted to the Monitor. At the
request of the Monitor, the Agency Medical Director and Deputy Chief conducted a third
survey to obtain further justification for our staffing requests. A sample of further
justification provided from Dixon Correctional Center is provided below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Facility Name Dixon Correctional Center
Facility Census FY2017 FY2018 FY2019
2393 2382 2226
Average Clinic Pattents/Month FY2017 FY2018 FY2019
HTN 503 483 481
DM 155 1d? 166
Seizure Li2 115 ili
Asthma 271 265 268
Gen Med 347 362 394
High Risk 27 30 21
# Patients RN Sick Cail Daily 816 1146 E168
# Patients Provider Lines TH 699 697
# Patients on Medline pass 412 432 748
# Labs Drawn by Nursing Staff 7 9 10
# Acute Infirmary Admissions 7 3 3
Average Daily Infirmary Census 3} 21 23

 

 

 

 

The OHS leadership critically reviewed the current staffing allocation, newly
requested positions and justification provided. As a part of the Department’s review, it
took into account facility census data, security level and facility-specific processes. The
Department also examined each facility’s clinical operations data such as backlogs,
transfers, clinics, etc. Staffing Analysis at 2-4.

Defendants do not contend that the staffing analysis is flawless, but it does contain
a workload analysis. Further, Defendants maintain that 286.9 additional medical staff
allocated as a part of the staffing analysis will drastically improve the medical and dental
care provided to individuals in Defendants’ custody.

A. Other Material Disagreements

The Monitor suggests that the Department is not working collaboratively with him
in finalizing the Implementation Plan, “IDOC has also limited the Monitor’s ability to give
input on the Implementation Plan including regarding data processes which has delayed
progress.” Report at 7. For more than two years, Defendants and the Monitor have
engaged in ongoing discussions regarding the Implementation Plan. Exhibits 1 through
g demonstrate that the Monitor has been afforded hours of input into the
implementation, including meetings with various vendors.

The Monitor goes on to state that, “[n]o new OHS staff have been hired since the |
last report.” Id. at 8. Just 12 pages later, that statement is contradicted when the Monitor

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admits “[t]he Chief of Dentistry and a Public Health Education Associate have been hired
since the last report.” Id. at 20.

The Monitor states that the Department has ignored repeated requests for
healthcare Administrative Directives. Id. at 36. The Department did send the Monitor
copies of the requested Administrative Directives. Exhibits 10 and 11 demonstrate IDOC’s
compliance with the requests. The Department provided the Monitor with copies of its
Administrative Directives on at least two separate occasions, at least one occasion was
directly responsive to his 12/16/19 request. These exhibits detail that the Department sent
healthcare directives, associated directives and even included statutory obligations
affecting the provision of healthcare.

The Monitor reports that he “has asked IDOC for the provider's name, facility
name, hours worked per week at that facility, and title (e.g., staff physician, Medical
Director, "traveling medical director") at that facility for every physician. Though
requested, IDOC has never provided this information.” Id. at 65. Exhibits 12 through 17
show that not only was the Department was responsive to the Monitor’s request, but when
follow-up information was requested, additional information was also provided.

IV. OHS Leadership

As with his past reports, the Monitor continues to challenge the organizational
structure of the Office of Health Services by insisting the Chief of Health Services does
not supervise facility healthcare staff. The Monitor further opines that because healthcare
staff must seek approval from facility leadership and not OHS to attend offsite medical
training the Chief of OHS does not control medical staff. Id. at 37. The Monitor is correct,
facility leadership is responsible for approving time-off requests for healthcare staff. The
reason for this arrangement is that custody leadership is responsible for ensuring that
facility operations run smoothly. Certainly, the Chief of Health Services could not
mandate that all healthcare staff attend a training offsite at the same time. The Chief of
Health Services is not independently familiar with the work schedules of all healthcare
staff; however, facility leadership is familiar. The Chief of Health Services is not
independently familiar with offsite medical appointments scheduled for a particular day;
however, facility leadership is familiar. The preoccupation with who in the Department is
responsible for approving requests for time off or training requests, oversimplifies the
‘intricacies of running a penal institution. The Department’s medical program is not
comparable to a medical program in the community. The Monitor’s suggestion to totally
eliminate facility leadership’s involvement in healthcare operations would have real
consequences to the health and safety of every person who lives and works in an IDOC
facility.

The Monitor report describes his visit to Shawnee Correctional Center. During his
visit, the Healthcare Unit Administrator as well as the Director of Nursing positions were
both vacant. The Monitor notes, “[t]he Warden and not the Chief OHS appointed the
acting HCUA. The person the Warden appointed was the Assistant Warden of Programs,
who has no clinical administrative experience. So, a deputy Warden was running the

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health program”. Id. at 19. What is missing from this analysis is an explanation of what
“running the health program” means. Any suggestion that security leadership oversees
medical care is incorrect. In fact, during his visit to Shawnee, both the Warden and
Assistant Warden of Programs emphatically denied being involved in making healthcare
decisions. See Exhibits 18 and 19. Instead, when the Assistant Warden of Programs runs
the healthcare unit, she is responsible for approving time off, ensuring supplies are
replenished and guaranteeing other operational mandates are met. Jd. The Assistant
Warden of Programs specifically told the Monitor that she relies on the OHS Regional
Manager and the facility Medical Director for ali medical decisions. Id.

V. Analysis of Compliance

In various areas throughout his report, the Monitor’s assessment of the
Department’s compliance is based on its adherence to his specific recommendations. For
example, in his analysis of Medical Records he determines that Department is
noncompliant because “[nJone of the recommendations in the Monitor’s 3rd Report were
enacted.” Report at 103. This is an inappropriate basis to assess compliance. First, the
Decree does not require the Department to follow every recommendation made by the
Monitor. It is completely plausible that the Department could achieve compliance without
specifically adhering to one or more of the Monitor’s recommendations. For example, the
Monitor’s recommendations under “Medical Records” require that the Department
“[e]nsure that point-of-care devices are integrated into the electronic medical record” and
“ensure that label printing of laboratory requisition and other similar devices are
integrated into the electronic medical record as part of the implementation of the record.”
Id, at 54. Neither requirement is mandated by the Decree.

Another example can be found in the Monitor’s recommendations regarding
“Preventative Services.” Section II.M.1. of the Decree requires the Department to offer
various immunizations and cancer screenings. It should follow, that substantial
compliance is achieved when the Department is able to demonstrate that appropriate
immunizations and cancer screenings are consistently offered to individuals in custody.
The Monitor’s recommendations far exceed that threshold. For influenza, the Monitor
demands, “IDOC must track and report annual influenza vaccination rates and refusals
by site.” Id. at 147. For all other vaccines, the Monitor insists, “The IDOC must track and
report the percentage of fully vaccinated incarcerated individuals for each nationally
recommended vaccine, the ongoing offering, administration, and refusal of all adult
immunizations, and the percentage of eligible individuals who are offered and received
recommended adult immunizations to the CQI committees at each site.” Id. at 153. While
these recommendations are reasonable, they are not required to achieve substantial
compliance. Defendants’ compliance should be evaluated based on the Decree, not the
Monitor’s additional requirements, reasonable or not.

The recommendations of the Monitor do more than ensure Defendants’
compliance with Decree, they create a standard that far exceeds the limitations of the
Prison Litigation Reform Act (PLRA), 18 U.S.C. § 3626(a). While Defendants are
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committed to providing individuals in custody with quality medical and dental care,
Defendants’ compliance with the Decree must be limited as required by the PLRA. For
example, section HI.K.9. of the Decree directs Defendants’ obligations with respect to
dental peer reviews. “Within twenty-one (21) months of the Preliminary Approval Date of
this Decree, IDOC shall establish a peer review system for all dentists and annual
performance evaluations of dental assistants.” Dkt. 1238, Consent Decree § III.K.9., p. 16.
Indeed, Defendants implemented a system for dental peer review well in advance of the
deadline imposed by the Decree, thus complying with section III.K.9. However, the
Monitor goes above what is outlined in the Decree and the limits of the PLRA when
recommending that, “an independent review of dental care should be used to avoid the

. potential bias that exists when the reviewer is a co-worker in the same system.” Report at
69. Surely, every dentist in the community is not reviewed annually by an independent
body. Accordingly, no such requirement should be imposed upon the Defendants.

The Decree requires Defendants that perform an “[a]nalysis of nutrition and timing of
meals for diabetics and other Class members whose serious medical needs warrant doing
so.” Dkt. 1238, Consent Decree § II.B.6,j., p. 6. In evaluating Defendants’ compliance with
their obligations to diabetics, the Monitor also recommends that, consistent with
American Diabetes Association (ADA) guidelines, “persons with diabetes have an
individualized therapeutic diabetes plan at diagnosis and as needed especially during
times of changing health status.” Report at 82. Defendants do not disagree that
individualized diabetes plans are medically prudent; however, creating those plans
concurrent to the diagnosis exceeds Defendants’ obligations under the PLRA. Defendants
are certainly able to meet their Decree obligations with respect to diabetics by providing
an individualized therapeutic diabetes plan within a reasonable time after diagnosis.
More concerning is the footnote 115, associated with this recommendation which outlines,
“(t]he ADA recommends three to six encounters during the first six months of diagnosis
with subsequent annual encounters and additional encounters as needed.” Id. The
Monitor concludes this section by advocating that the Department be required to follow
the ADA guidelines. These guidelines far exceed the mandates of the PLRA. The
Department’s compliance with the Decree must be measured within the confines of the
PLRA and not arbitrary standards established by the Monitor.

A. Partial Compliance

The Monitor’s Fourth Report outlines various areas of noncompliance. However,
after a closer reading, the narrative section suggests that the Department has achieved
partial compliance. As outlined in the Decree, partial compliance

occurs when the Defendants have achieved less than substantial compliance
with all of the components of a particular section of the Decree but have
made some progress toward substantial compliance on most of the key
components of the section. A partial compliance rating encompasses a wide
range of performance by the Defendants. Specifically, a partial compliance
rating can signify that the Defendants are nearly in substantial compliance,
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or it can mean that the Defendants are only slightly above a non-compliance
rating.

Dkt. 1238, Consent Decree § I.C.15., p. 3.

Since his Second Report to the Court, the Department has plead with the Monitor
to acknowledge the partial compliance rating. Such acknowledgement is ordered by the
Decree. However, the Monitor continues to be inconsistent with determinations of
partially compliance. Below are various examples where the Department was rated as
noncompliant, while the corresponding narrative provides evidence of partial
compliance.

In evaluating “Performance and Outcome Measures,” the Monitor adjudges the
Department as noncompliant while noting varies areas of partial compliance. The
narrative section notes that “[i]n the last two Monitor Reports ten recommendations were
given for inclusion on a dashboard at a minimum. Of these ten items, five were not present
on the 5/5/21 dashboard submitted to the Monitor by IDOC. Four were only partly
included and only one was included.” Report at 43. It is not clear what could be better
evidence of partial compliance than satisfying five out of ten of the Monitor’s own
recommendations.

The Monitor rates the Department’s compliance with “Vendor Monitoring” as
noncompliant. This rating is given despite the Monitor's explicit statement that, “[t]he
data provided is not sufficient to evaluate IDOC’s monitoring of the vendor.” Id. at 50.
The Monitor is not without options when insufficient information exists to rate certain
sections. He can simply assign it as “not yet rated.” This rating is given to other sections,
It is unclear why it was not used here.

The subsection of “Mortality Review” was rated noncompliant, although the
narrative section fully supports a finding of partial compliance: “The Monitor made seven
recommendations in his Third Report. Three recommendations were partly complied
with but four were not addressed at all.” Id. at 50. This rating of noncompliance is also
inconsistent with the Monitor’s review of a draft mortality review policy.

On Page 74, the Monitor rates the Department as noncompliant with section
IIL.J.3. of the Decree, which requires that “Facility medical staff shall conduct and
document safety and sanitation inspections of the medical areas of the facility on a
monthly basis.” Dkt. 1238, Consent Decree § III.J.3., p. 15. This rating is contradicted
multiple times in the narrative section that first reports, “[rJesults and/or reports of
monthly Safety and Sanitation inspection reports have been provided to the Monitor on.
a quarterly basis for nearly all facilities. Some tyve of safety and sanitation inspection is
conducted each month at the IDOC facilities.” Report at 74. This alone is evidence of.
partial compliance. The Monitor also acknowledges, “[t]he Monitor was provided with a
copy of a draft IDOC monthly inspection survey intended to standardize a more clinically
focused audit tool for use in the health care areas at all correctional centers. This draft is
an expanded audit tool of clinical space, equipment, furniture, and processes in medical

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areas both in the HCU and in satellite areas.” Id. at 76. This is further evidence of partial
compliance. It also demonstrates that the Department is making ongoing efforts towards
substantial compliance.

Under “Facility Implementation of Policies and Procedures,” specifically section
II.B.8. of the Decree, the Monitor rates the Department as noncompliant. According to
the Monitor, the rationale for this rating is that no policies have been “approved of
implemented.” Id. at 90. However, the Monitor acknowledges that the revised
Immunization policy has been approved and distributed. Id. at 147. On page 153, he
acknowledges that policies regarding cancer screenings were approved and distributed.
On page 163, he acknowledges that the Hepatitis C policy has been revised, approved and
implemented. Furthermore, while the COVID-19 pandemic affected the Department’s
ability to meet the deadline for the completion of this obligation as established in the
Decree, the Department is clearly making efforts towards compliance. The Monitor
consistently acknowledges this partial compliance when he acknowledges receipt and
review of several amended IDOC policies. He further reports that he has received
additional policies for review for which he has yet to provide comments.

The Monitor rates the Department as noncompliant with various sections of the
Decree related to Medical Reception. Specifically, he gives a rating of noncompliant with
section III.C.1., which requires that “IDOC shall provide sufficient nursing staff and
clinicians to complete medical evaluations during the intake process within seven (7)
business days after a prisoner is admitted to one of IDOC's Reception and Classification
Centers.” Dkt. 1238, Consent Decree § IJI.C.1. p. 11. A rating of noncompliance is
appropriate in this section, only if his chart review reveals that no medical evaluations are
taking place within seven (7) business days. However, that is not what his chart review
revealed, “(i]ndeed, chart review showed that these evaluations are completed at intervals
longer than seven days at two of the three intake sites that provided charts for review.”
Report at 92. This is clear evidence of partial compliance.

Section JI.B.6.f. of the Decree outlines that “IDOC agrees to implement changes in
the following areas: Chronic disease care: diabetes, Chronic Obstructive Pulmonary
Disease (COPD), asthma, HCV, HIV/AIDs, hypertension, hyperlipidemia.” The Monitor
rates the Department as noncompliant yet pages later, he acknowledges that the “care of
patients with HIV and Hepatitis C is of excellent quality...” Id. at 113.

VI. Collegial Review

Since the Monitor’s first report, he has all but demanded the elimination of
collegial review. His criticism regarding the program is extensively documented in every
report to the Court. In fact, in the Monitor’s Third Report to the Court his criticism of
collegial review spans nearly five full pages. As a part of his strongest critique, the Monitor
opines that the program “delays needed consultations, procedures, and testing. It
potentially puts patient-inmate’s health at risk. It diminishes patient quality of life. It
consumes an extraordinary amount of physician, HCUA, medical record staff, nurse,
Regional Health Coordinator, Agency Medical Director, and Deputy Chief resources. The

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Monitor again recommends that the vendor’s referral process be discontinued.” Dkt. 1403
at 110. Now that the Department has eliminated the program, thus improving the patient
quality of life, the current report is suddenly silent as to the impact the elimination has on
the Department’s healthcare system. In stark contrast to his Third Report to the Court,
the elimination of collegial review is now so insignificant that it carries no weight in his
analysis of specialty consultations, “The recommendations from the last report have not
been addressed with the exception of discontinuing collegial review.” Report at 136. The
Monitor all but suggests that the elimination is somehow a fraud. “There is no language
in the vendor’s contract extensions that prohibits the continuation of collegial review.” Id.
at 142. However, collegial review was eliminated.

VII. Conclusion

Until substantial compliance is achieved with every aspect of the Decree, Defendants
will continue to work collaboratively with the Monitoring team. However, IDOC requests
that the Monitor must recognize partial compliance as outlined within the Decree.

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EXHIBIT 1
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 12 of 60 PagelD #:21876

From: Presley, Kelly D.

To: Meeks, Steve; Bowman, Steven; Conway, Lamenta; Klein, Mary L.; Johnson, Lisa M.; Jepsen. Tina; Candido,
Janette; Griffin, Susan; Hedges, Tonya

Subject: In-person Meeting with Lippert Monitoring Team

Start: Tuesday, December 10, 2019 11:00:00 AM

End: Tuesday, December 10, 2019 4:00:00 PM

Location: Chicago

importance: High

 

For those of you who are driving into the city for tomormow’s meeting, here are some parking options:
1. 177,N. Wells (Lake and Wells)-$17 for up to £2 hours
2. 20E. Randolph (Across from Macy's)- $16 for upio 12 hours

3. Spothero or Parkwhiz
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EXHIBIT 2
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 14 of 60 PagelD #:21878

From: Presley, Kelly D.

To: Jack Raba

ee: Michael Puisis

Subject: RE: Staffing Analysis/Implementation and expanded d document request meeting
Date: Tuesday, January 14, 2020 12:43:00 PM

 

Great. We can meet here at 2pm. There may be 1 Wexford person in attendance. That has not been
confirmed, but is a possibility.

Kelly Presley

Deputy Chief Legal Counsel
Illinois Department of Corrections
(312)814-1526 phone

(312)}8 14-3542 fax

From: Jack Raba [mailto:jraba@healthmanagement.com]

Sent: Wednesday, January 08, 2020 4:06 PM

To: Presley, Kelly D.

Ce: Michael Puisis

Subject: [External] Re: Staffing Analysis/Implementation and expanded document request meeting

Your offices are fine for us- unless you prefer to meet in the HMA offices. Thanks. Jack

Sent from my iPhone

Jack Raba, MD

M A Principal | Chicago, IL
Direct: 312-600-6750 | Mobile: 312-933-4003

 

  

On Jan 7, 2020, at 8:24 PM, Presley, Kelly D. <Kelly.D.Presley@illinois.gov> wrote:

Great! 1 proposed 2pm to GHS and that seems to work fine. Just let me know if you
would prefer to meet at your office or ours, Thanks

From: Jack Raba [mailto:;jraba@healthmanagement.com]

Sent: Tuesday, January 07, 2020 8:23 PM

To: Presiey, Kelly D. <Kelly.D.Presley@illinois.gov>

Ce: Michael Puisis <mpuisis@gmail.com>

Subject: [External] Re: Staffing Analysis/Implementation and expanded document
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request meeting

Ms Presley: I am ok with meeting on Thursday 1/16. 1 am free from 1:30pm on.
Let me know what times are good for OHS/you. Thanks. Jack

Sent from my iPhone

| Jack Raba, MD

iM A | Principal | Chicago, IL
Direct: 312-600- 6750 | Mobile: 312-933-4003

 

 

 

On Jan 7, 2020, at at 2: 04 PM, Jack Raba

 

Yes. Mike and I can meet with Dr Meeks et al on Weds afternoon
1/15. Thanks. Jack

Sent from my iPhone

i jack Raba, MD
Principal | Chicago, IL
Direct: 312-600-6750 | Mobile: 312-933-4003

WAV. | ealthmanagement.com

HMA

OL TPRGHES. Es

 

 

 

On fan 6, 2020, at 4:51 PM, Presley, Kelly D.

slev‘a

  

q@illinois.gov> wrote:

 
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Dr. Raba,

Would you be spposed te conducting this meeting in the

afternoon of the 15%"?

Kelly Presley

Deputy Chief Legal Counsel
Illinois Department of Corrections
(312)8 14-1526 phone
(312)814-3542 fax

From: Jack Raba [mailto:jraba@healthmanagement.com)
Sent: Friday, January 03, 2020 6:06 PM

To: Presley, Kelly D.

Subject: [External] Re: Staffing Analysis/Implementation and
expanded document request meeting

It looks like a meeting with UICCON is being scheduled
on 1/15 for about the same time? Jack

Sent from my iPhone

Jack Raba, MD

i
3
i M A : Principal | Chicago, IL
i Direct: 312-600-6750 | Mobile: 312-933-4003
}

Tee “cy

 

 

  

On Jan 3, 2020, at 11:01 AM, Presley, Kelly D.
Jelly slevd@illinois.gov> wrote:

 

Dr. Raba,

Would January 15'* work for yourself and Dr.
Puisis? It works for myself as weli as Doctors
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 17 of 60 PagelD #:21881

Meeks, Bowman and Conway. Thanks

Kelly Presley

Deputy Chief Legal Counsel
Illinois Department of Corrections
(312)8 14-1526 phone
(312)814-35+42 fax

From: Jack Raba

{mailte:j @heal ]

Sent: Wednesday, January 01, 2020 10:19 PM
To: Presley, Kelly G.

Subject: [External] Staffing
Analysis/Implementation and expanded document
request meeting

Ms. Presley/Kelly: In addition to the
meetings that Dr. Meeks is arranging with
Tina Neely/KaZee about the EHR and with
UICCON about the quality plan and phase ||
relationship with OHS/IDOC, would you be
able to set up a meeting with Dr. Meeks, Dr,
Bowman, Dr. LaMenta and Dr. Puisis and me
to address our recommendations/input
about the latest version of the staffing
analysis and the implementation plan. We
could also discuss at this meeting the
expanded document request that was
previously send to you - the consent decree
states we should meet and agree on the
data and information needed for the
monitor to sufficiently evaluate the IDOC's
compliance with the consent decree. We
also should begin to have regularly
scheduled (no less than monthly) meetings
to facilitate communication be between the
monitors and the OHS/IBOC Thanks.

Jack

» Jack Raba, MD

I | M A | Principal | Chicago, IL
i Direct: 312-600-6750 | Mobile: 312-933-4003

| wiww-healthmanagementcom

 
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any other exemption from disclosure
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 19 of 60 PagelD #:21883

EXHIBIT 3
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 20 of 60 PagelD #:21884

From: Presley, Kelly D.

To: Meeks, Steve; Bowman, Steven; Conway, Lamenta
Subject: Lippert: Staffing Analysis and Implementation Pian Meeting
Start: Thursday, January 16, 2020 2:60:00 PM

End: Thursday, January 16, 2620 5:00:00 PM

Lecation: Director's Office

 

Please note that the meeting will take piace in the Director's office.
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 21 of 60 PagelD #:21885

EXHIBIT 4
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 22 of 60 PagelD #:21886

Staley, Nicholas

Subject: Lippert Meeting
Location: 180 N, LaSalle, Suite 2305
Start: Tue 2/11/2020 12:00 PM
End: Tue 2/11/2020 2:00 PM
Show Time As: Tentative

Recurrence: (none}

Meeting Status: Not yet responded

Organizer: Presley, Kelly D.
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 23 of 60 PagelD #:21887

EXHIBIT 5
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 24 of 60 PagelD #:21888

Staley, Nicholas

Subject: Lippert Meeting

Location: 180 N. LaSalle, Suite 2305
Start: Thu 3/12/2020 10:00 AM
End: Thu 3/12/2020 17:30 AM

Recurrence: (none)
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 25 of 60 PagelD #:21889

EXHIBIT 6
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 26 of 60 PagelD #:21890

 

From: Presley, Kelly D.

To: Staley. Nicholas; Jack Raba

Subject: Staffing Analysis and Implementation Plan
Start: Thursday, February 11, 2021 16:00:00 AM
End: Thursday, February 11, 2021 16:30:00 AM
Location: tic

1-888-494-4032

Passcode 966-4218-952
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 27 of 60 PagelD #:21891

EXHIBIT 7
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 28 of 60 PagelD #:21892

 

From: Presiey, Kelly D.

To: Bowman, Steven; Conway, Lamenta; Griffin, Susan; *

ce Staley, Nicholas S.

Subject: Staffing Analysis/Implementation Pian

Start: Tuesday, June 15, 2621 10:30:00 AM

End: Tuesday, June 15, 2021 11:30:00 AM

Location: te

Attachments: Lippert DOS implementaiton Plan Monitor Response 06032023 docx

L i fan Ex mm_ Example 01212! Oe

 

1-888-494.4032

Passcode 966-4218-952
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 29 of 60 PagelD #:21893

EXHIBIT 8
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 30 of 60 PagelD #:21894

From: Presley, Kelly D.

To: Bowman, Steven, Conway, Lamenta; Jack Raba; “mpuisisGamail.com”; Staley. Nicholas S.; Griffin, Susan
Subject: Lippert Meeting: implementation Plan

Start: Monday, July 12, 2021 2:00:00 PM

End: Monday, July 12, 2021 3:00:00 PM

Location: tfc

 

1-888-494.4032

Passcode 966-42 18-952
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 31 of 60 PagelD #:21895

EXHIBIT 9
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 32 of 60 PagelD #:21896

From: Presley, Kelly D.
To: Bowman, Steven; Conway, Lamenta; Staley, Nicholas S.; Griffin, Susan; Jack Raba; “mpuisis@qmail.com”
Ce: Austin, Russell J.
Subject: Lippert Implementation Pian Meeting
Start: Tuesday, July 20, 2021 2:00:00 PM
End: Tuesday, July 20, 2021 4:06:00 PM
Location: te
Attachments: Draft Lippert IDGC Implenm Ptan 1-2y workplan 5-12-21.xisx
ippert 1D! le! i From 3rd Report. docx

 

1-888-494-4032
Passcode 966-4218-952
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 33 of 60 PagelD #:21897

EXHIBIT 10
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 34 of 60 PagelD #:21898

From: Presley, Kelly D,

To: Jack Raba

Subject: Healthcare Directives

Date: Monday, January 13, 2020 2:53:00 PM

Attachments: Healthcare DRs and HB 2045 pdf
Non-Heaithcare ADs impacting HCW pdf
Healthcare ADs.pdf

Dr. Raba,

Please find the attached documents pursuant to your December 16, 2019 request for “Most recent
IDOC health care related Administrative Directives.”

Kelly Presley

Deputy Chief Legal Counsel
Hiinois Department of Corrections
(312)814-1526 phone
($12)814-3542 fax
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 35 of 60 PagelD #:21899

EXHIBIT 11
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 36 of 60 PagelD #:21900

From: Presley, Kelly D,
To: Jack Raba
Subject: Updated Medical ADs and Forms
Date: Monday, June 15, 2020 3:29:60 PM
Attachments: 403102 2020 L.docx

403103 2020 1.docx

f

dochod4 rev 7020 | pdf
doc0099 rev 3.6.2020 pdf
docd401 rev 2020 1.pdf
doc044? rey 2020 1 pdf
doc0490 rev 2020 3.pdf
doc0583.pdf

doc0585 2020 6.odf

 

Dr. Raba,

Attached you will find the updated Administrative Directives as well as forms that have been revised
since November 2019.

Kelly Presley

Deputy Chief Legal Counsel
Ulinois Department of Corrections
(312)814-1526 phone
(312)814-3542 fax
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 37 of 60 PagelD #:21901

EXHIBIT 12
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 38 of 60 PagelD #:21902

From: Presley, Kelly D.

To: Jack Raba

Ce: “hnguisis@oamal.com”

Subject: RE: Assignment of Physicians, PAs, and NPs

Date: Tuesday, May 11, 2021 9:10:00 AM
Attachments: Wexford IDOC Physician MedDir PANP 05-07-2021. x

 

Attached is the site assignment of providers as of May 7, 2021. This does not mean a
provider worked only at that site designated, it means the majority of the hours a provider
works weekly is done at the site indicated. The FTE column indicates the number of hours per
week the provider was hired to work for Wexford in Illinois D.O.C. 1.0 FTE equals 40 hours
per week. 0.75 FTE equals 30 hours per week. 0.5 FTE equals 20 hours per week, etc. 0.00
FTE means the provider is PRN and does not work a designated number of hours per week,
but rather as needed or as availabie.

Kelly Presley

Chief Public Safety Legal Counsel
Minois Department of Corrections
312-814-1526

From: Jack Raba <jraba@healthmanagement.com>

Sent: Monday, April 19, 2021 12:08 PM

To: Presley, Kelly D. <Kelly.D.Presley@illinois.gov>

Ce: 'mpuisis@gmail.com’ <mpuisis@gmail.com>

Subject: [External] Assignment of Physicians, PAs, and NPs

Hi Ms. Presley/Kelly: Please send us an updated Wexford "Medical

Directors/ Physicians/PANPs" which includes the assigned correctional

facility, provider name, position, FTE for all providers. The last version provided was dated
11/23/20. Thanks. Jack

| Jack Raba, MD

HM Principal | Chicago, IL
; Direct: * 6%) 600-6750 | Mobile: (312) 933-4003

 

 

 
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EXHIBIT 13
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 40 of 60 PagelD #:21904

 

From: Presiey, Keily D.

To: Jack Raba

Ce: ~fapuisis@amail con”

Subject: RE: Document Requests

Date: Monday, December 14, 2020 2:26:00 PM

Attachments: Wexford IDOC Medical New Hires 6-1-2020 to 11-30-2020. pdf
Jack,

The following document reflects the Wexford numbers as requested in your 4" request. | am still
working to obtain the information from the State side. A reminder 0.00 FTE refers to the person
being hired as PRN.

Kelly Presley

Chief Public Safety Legal Counsel
Illinois Department of Corrections
312-814-1526

From: Jack Raba <jraba@healthmanagement.com>
Sent: Monday, December 7, 2020 10:23 AM

To: Presley, Kelly D. <Keliy.D.Presley@illinois.gov>
Ce: 'mpuisis@gmail.com' <mpuisis@gmail.com>
Subject: [External] Document Requests

Good morning Ms. Presley/Kelly: Please forward us the following document/information
requests: 1)Current list of HCUASs by site with vacancies notes and current coverage for

vacant HCUA positions.

2)an Update OHS T.O. We did receive one dated May 2020 and then a OHS "Proposed" T.O.
dated 6/18/20 (attached to the 6/18/20 Staffing Analysis), 3) An updated list of status

of wiring/infrastructure upgrades for the EHR (last update received in August 2020). 4)
Details on the 200 additional employees hired noted in the November 2020 IDOC report on
progress toward compliance: Positions by title hired by site, “FTE, date of hiring, IDOC v
Wexford employee, previously allocated or hired as new positions recommended in the sites’
staffing analysis. 5) Job Description of the Director of Dentistry and CV if the person has
been identified/hired. Please call me if you have any questions. Thanks Jack (1 will! be
sending a lengthy list (a word document - not the VG spread sheet that we are working with
you to develop but similar) of ongoing reports that the Monitor team will need for the 3rd and
subsequent reports pending agreement on the VG Requests.

Jack Raba, MD

HM A Principal | Chicago, IL
: Direct: 312-600-6750 | Mobile: 312-933-4003

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EXHIBIT 14
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 43 of 60 PagelD #:21907

 

 

From: Presley, Kelly D,

Ta: Jack Rada

Subject: RE: IDOC Physician/Provider Data Request Clarification
Date: Monday, December 14, 2020 10:02:00 PM
Attachments: Wexford IOOC Med Dir Physician PANP 17-14-2020 pdf
Dr. Raba,

The attached documentation is in response to the 3¢ request. Please note Wexford’s response
regarding key performance indicators.

Typically a Wexford employee performance is reviewed every April to determine indicators
met for each employee. However, this was not done in April this year in order to allow
Wexford managers to instead focus on activities necessary for the worldwide COVID-19
pandemic. An Employee's performance did however continue to be monitored by their
immediate supervisor and disciplinary action taken if necessary.

Relly Presley

Chief Public Safety Legal Counsel
Hlincis Department of Corrections
312-814-1526

From: Jack Raba <jraba@healthmanagement.com>

Sent: Wednesday, November 11, 2020 11:35 AM

To: Presley, Kelly D. <Kelly.D.Presley @illinois.gov>

Subject: [External] Re: IDOC Physician/Provider Data Request Clarification

IDOC has provided us with three spread sheets that has current info on Physician and PA/NP
staffing - we received all three of these since the Consent Decree has been in place. we would
like I}IDOC Physicians as of Date 11/1/2020 2)IDOC PA/NP as of 11/1/2020 and 3)
Wexford Health , 2020 Salary Compensation Calibration Worksheet, PA/NP, Medical
Director, Physician (this included provider name, title, site, Last hire, wkly hours, discipline
columns, key performance indicators met, and notes). I added in current dates. All three are

_ helpful in verifying provider assignments although I believe that the IDOC runs are likely
more current. The Wexford data will alsc be used for QA, discipline, overall evaluation.
Thanks. Jack

Jack Raba, MD

HM A | Principal | Chicago, IL
| Direct; 312-600-6750 | Mobile: 312-933-4003

| wis healthmanagement.com
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Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 44 of 60 PagelD #:21908

 

 

From: Presley, Kelly D. <Kel Pres| illinois. gov>

Sent: Tuesday, November 10, 7020 7:06 PM

To: jack Raba

Subject: RE: IDOC Physician/Provider Data Request Clarification

Hi Jack,

Do you recail the title of the document that you are referencing? | can’t seem to locate anything
with that title. Thank you

Relly Presley

Chief Public Safety Legal Counsel
Hiinois Department of Corrections
919-8 14-1586

From: Jack Raba <jraba@heaithmanagement.com>
Sent: Tuesday, November 10, 2020 72: 38 PM

To: Presley, Kelly D. <Kelly.D Presiay ia igo
Subject: [External] IDOC Physician/Provider Data Request Clarification

 

Hi Kelly: This is just an adjunct to the previous email: If there is a current Wexford "salary
compensation worksheet" for 2020 please also send this. You provided us with the 2019
report and it was useful in identifying worksites and provider staffing. Thanks. Jack

| Jack Raba, MD
Principal | Chicago, IL
Direct: 312- 600-6750 | Mobile: 312-933-4003

HMA |;

 

 

 

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Case: 1:10-cv-04603:Document #: 1465 Filed: 10/20/21 Page 45 of 60 PagelD #:21909

  
  

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EXHIBIT 15
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 47 of 60 PagelD #:21911

From: Presley, Kelly D

To: Jack Raba

ca “Tapuisiségmail conv’; Catherine M Krox; Ronald Shansky; Bowman, Steven
Subject: RE; Physician Coverage in IDOC

Date: Wednesday, June 16, 2021 5:36:00 PM

 

Per your request

* Dr. Shah is assigned to Centralia and is onsite a minimum of one day per week.
* Dr. Myers is assigned to Graham and is onsite a minimum of one day per week.
« Dr. Henze is assigned to JTC and will be onsite a minimum of one day per week.
e Dr. Gonzalez is assigned to Taylorville and is onsite 40 hours per week.

° Dr. Myers is assigned to Vienna and onsite a minimum of one day per week.

e Dr. Smith is assigned to Lincoln and onsite 40 hours per week

* Though a Physician is not required via Murphysboro Schedule E, Dr. Myers is the
physician assigned to Murphysboro by virtue of Pinckneyville being the parent facility.

e Dr. Henze is the physician assigned to Elgin

e Dr. Rankin is the physician assigned to Kewanee and goes onsite one day per week.

Kelly Presley

Chief Public Safety Legal Counsel
Hlinois Department of Corrections
312-8 14-1586

Pronouns: she, her, hers

From: Jack Raba <jraba@healthmanagement.com>

Sent: Tuesday, June 8, 2021 9:49 AM

To: Presley, Kelly D. <Kelly.D.Presley@illinois.gov>

Cc: 'mpuisis@gmail.com' <mpuisis@gmail.com>; Catherine M Knox <cmknoxlic@msn.com>; Ronald
Shansky <ronshanskymd@gmail.com>; Bowman, Steven <Steven.Bowman @lllinois gov>

Subject: [External] Physician Coverage in IDOC

Good morning Ms. Presley/Kelly: Review of Wexford's 5/7/21 Physician/PA/NP roster and
the 6/2/1 Physician Credentials List indicated there were no designated physicians assigned to
five site: Centralia, Graham, JTC, Taylorville, and Vienna. (Elgin, M-Boro , Kewanee were
excluded from this list. Both Kewanee ana M-Boro have PA/NP coverged noted). Please send
the names and the hours of weekly service of the physicians who are covering the five noted
correctional centers. Thanks. Jack Raba
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 48 of 60 PagelD #:21912

i Jack Raba, MD

HM A | Principal | Chicago, EL
Direct: (312) 600-6750 | Mobile: G12) 933-4003

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EXHIBIT 16
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 50 of 60 PagelD #:21914

From: Presley, Kelly D.

To: Jack Raba; “mpuisis@amatl.com"; Bowman, Steven; Conway, Lamenta
Subject: Updated Physician List

Date: Wednesday, June 2, 2021 1:10:00 PM

Attachments: Physicians Credential Report 6.1.2 1.xisx
Good Afternoon,

Per your request on our credentialing call last month, attached is an updated list of Wexford
physicians. Additionally, please provide your preference for the next meeting date. The options were
June 29th at 10am or July 8th at Llam? Thank you.

Kelly Presley

Chief Public Safety Legal Counsel
Tlinois Department of Corrections
319-8 14-1526
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EXHIBIT 17
‘Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 52 of 60 PageID #:21916

Wexford Iilinols Medical Directors /
As of 8/7/2021
Site Last Name First Name
[DOC - BIG MUDDY FACILITY
IDOC - BIG MUDDY FACILITY
IDO - DANVILLE FACILITY
IDOC - DANVILLE FACILITY
IDOC - DANVILLE FACILITY
IDOG - DECATUR FACILITY
IDOC - DECATUR FACILITY
IDOC - DIXON FACILITY
IDOS - DIXON FACILITY
IDOC - DIXON FACILITY
IDOC - DIXON FACILITY
IDOC - EAST MOLINE FACILITY
IDOC - EAST MOLINE FACILITY
[DOC - EAST MOLINE FACILITY
IDOC - ELGIN TREATMENT CENTER
IDOC - GRAHAM FACILITY
IDOC - GRAHAM FACILITY
IDOC - HILL CORRECTIONAL FACILITY
IDOC - HILL CORRECTIONAL FACILITY
IBDOC - IL RIVER CORRECTIONAL FACILITY
IDOC - IL RIVER CORRECTIONAL FACILITY
IDOC - MENARD FACILITY
IDOC - JACKSONVILLE FACILITY
[DOC - JACKSONVILLE FACILITY
IDOC - JACKSONVILLE FACILITY
IDOC - KEWANEE LSRC FACILITY
IDOC - LAWRENCE FACILITY
IDOC - LAWRENCE FACILITY
IDOC - LAWRENCE FACILITY
IDOC - LINCOLN FACILITY
IDOC - LINCOLN FACILITY
IDOC - LOGAN FACILITY
IDOC - LOGAN FACILITY
IDOC - LOGAN FACILITY
[DOC - ACIUTY
IDOC - LOGAN FACILITY
IDOC - LOGAN FACILITY
IDOC - MENARD FACILITY
IDOC - MENARD FACILITY
IDOC - MENARD FACILITY
IDOC - MENARD FACILITY
IDOC - MENARD FACILITY
IDOC - MURPHYSBORO LSRC FACILITY
IDOC - PINCKNEYVILLE FACILITY
IDOC - PINCKNEYVILLE FACILITY
IDOC - PONTIAC FACILITY
IDOC - PONTIAC FACILITY
IDOC - PONTIAC FACILITY
IDOC - PONTIAC FACILITY

1 PA-NPs

Position
PA/NP

Medica! Director
PAINP

PAINP

Medical Diractor
Medical Director
Medical Director
PAINP

PA/NP

PA/NP

Medica! Director
Medicai Director
PA/NP

BANE
PA/NP

SAIN OT
PASNP

Medical Director
PAINP

PAINP

Medical Director
Physician
Medical Director
PAWNP

PAINP

PAJNP

PA/NP

PA/NP

Medical Director
PA/NP

Medical Director
PASNP

PAINE

PAINP

PAINP

Medical Director
PAINP

PAINP

PAINP
Physician
PAINP

Medical Director
PA/NP

PAJNP

Medical Director
PAANP

PAJNP

PA/NP

PAINP

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Woxford Illinois Medical Directors / i PANPs
As of 6/7/2021

Site Last Name Firat Name Position
IDOC - PONTIAC FACILITY Medical Director
IDOC - PONTIAC FACILITY PAINP
IDOC - ROBINSON FACILITY PA/NP
IDOC - ROBINSON FACILITY Medical Director
IDOC - SHAWNEE FACILITY Medical Director
IDOC - SHAWNEE FACILITY PAJNP
(DOC - SHERIDAN FACILITY PAJNP
IDOC - SHERIDAN FACILITY PA/NP
IDOC - SOUTHWESTERN FACILITY Medical Directer
IDOC - STATEVILLE CORRECTIONAL FACILITY Physician
IDOC - STATEVILLE CORRECTIONAL FACILITY Physician
IDOC - STATEVILLE CORRECTIONAL FACILITY PAINP
IDOC - STATEVILLE CORRECTIONAL FACILITY Medical Director
IDOC - STATEVILLE CORRECTIONAL FACILITY PA/NP
IDOC - STATEVILLE CORRECTIONAL FACILITY PA/NP

- STATEVILLE R&C FACILITY Medicai Director
(DOC - STATEVILLE R&C FACILITY PA/NP
IDOC - STATEVILLE R&C FACILITY PA/NP
IDOC - STATEVILLE R&C FACILITY Physician
IDOC - STATEVILLE R&C FACILITY PASNP

- VANDALIA FACILITY Medical Director
DOC - VIENNA FACILITY PA/NP
DOC - WESTERN ILLINOIS FACILITY PA/INP
DOC - WESTERN ILLINOIS FACILITY

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EXHIBIT 18
Case: 1:10-cv-04603 Document #: 1465 Filed: 10/20/21 Page 55 of 60 PagelD #:21919

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

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)
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)
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)
)
)

DON LIPPERT, e: al.,

Plaintiffs, No. 10-ev-4603

¥v. Honorable Jorge L. Alonso
Judge Presiding

J.B. PRITZKER, et al.,

Defendants.

 

I, Lu Walker, pursuant to 28 U.S.C. 1746(2), state that I have personal
knowledge of the facts set forth herein, that 1 am competent to testify and if called to
testify would state as follows:

L. I am the Assistant Warden of Programs for Shawnee Correctional Center
(Shawnee).
2. I was present at Shawnee on June 21-23, 2021, for the visit of the Lippert

Monitor, Dr. Jack Raba, and his consultants, Dr. Mike Puisis and Catherine

Knox.

3. As Assistant Warden of Programs, my responsibilities include oversight of all
_ facility programs as well as facility operations with respect to the healthcare unit.

4, During their visit, I spoke with the Monitor and his consultants multiple

times regarding my duties related to healthcare unit operations.

5. At no time did I ever say or suggest that I was responsible for running the

healthcare unit.
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Date:

I am not authorized to make medical decisions nor do I oversee the medical
decisions of healthcare staff.

I do not have the authority to hire or fire facility staff, including medical
staff.

I am authorized to approve requests for time off, reorder supplies and
manage other operational matters involving healthcare staff. This is the
extent of my authorization with respect to oversight of the healthcare unit.

I declare under penalty of perjury that the foregoing is true and correct.

Assis Warden Lu Walker
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EXHIBIT 19
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DON LIPPERT, et ai.,
Plaintiffs, No. 10-cv-4603
v. Honorable Jorge L. Alonso

Judge Presiding
J.B. PRITZKER, et al.,

ee a eed

Defendants.
DECLARATION OF WARDEN DANIEL MONTI
I, Daniel Monti, pursuant to 28 U.S.C. 1746(2), state that I have personal
knowledge of the facts set forth herein, that I am competent to testify and if called to
testify would state as follows:

1. I am the Warden of Shawnee Correctional Center (Shawnee).

2. I was present at Shawnee on June 21-23, 2021, for the visit of the Lippert
Monitor, Dr. Jack Raba, and his consultants, Dr. Mike Puisis and Catherine
Knox.

3. As Warden, my responsibilities include oversight of all facility operations.

4. During their visit, I spoke with the Monitor and his consultants multiple

times regarding facility operations, including the operations of the healthcare unit.

5. At no time did I ever say or suggest that Lu Walker, the Assistant Warden of

Programs, was responsible for running the healthcare unit.

6. Assistant Warden Walker is not authorized to make medical decisions.

7. Assistant Warden Walker is authorized to approve requests for time off,
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reorder supplies and manage other operational matters involving healthcare
staff. This is the extent of her authorization with respect to oversight of the
healthcare unit.

8. Neither myself, nor Assistant Warden Walker, have the authority to hire or
fire facility staff, including medical staff.

I declare under penalty of perjury that the foregoing is true and correct.

Date: leprs 7 ¥ Me

War Daniel Monti
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